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                                                                        Central District of California
 6 Attorneys for Chapter 11 Trustee,                                    BY wesley DEPUTY CLERK

   RICHARD A. MARSHACK
 7

 8                                  UNITED STATES BANKRUPTCY COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
10

11    In re                                                Case No. 2:21-bk-11188-BB
12                                                         Chapter 11
      GLENROY COACHELLA, LLC,
13                                                         ORDER GRANTING CHAPTER 11
                                                           TRUSTEE’S MOTION TO APPROVE
14                       Debtor.                           COMPROMISE WITH U.S. REAL ESTATE
                                                           CREDIT HOLDINGS III-A, L.P. RE
15                                                         LENDER'S CONSENT TO SALE FREE
                                                           AND CLEAR OF LIEN AND TO APPROVE
16                                                         CREDIT BID
17                                                         [DK. NO. 322]
18                                                         Hearing:
                                                           Date: August 31, 2021
19                                                         Time: 2:00 p.m.
                                                           Ctrm: 1539
20

21            On August 31, 2021, the Court conducted a hearing on the Chapter 11 Trustee’s motion for
22 approval of a compromise and settlement (“Agreement”) with U.S. Real Estate Credit Holdings III-

23 A, L.P. (“Lender”) re: Lender’s Consent to Sale Free and Clear of Lien and To Approve Credit Bid

24 (“Motion”)1, filed on July 28, 2021, as Dk. No. 322. All appearances were noted on the record.

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28 1 All terms are as defined in the Motion.

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 1            The Court having read and considered the Chapter 11 Trustee, Richard A. Marshack’s (the
 2 “Trustee”) Motion to Approve Compromise with U.S. Real Estate Credit Holdings III-A, LP re

 3 Lender’s Consent to Sale Free and Clear of Lien and to Approve Credit Bid [Dkt. No. 322] (the

 4 “Motion”) and related declarations, oppositions, and responses thereto, as well as the oral arguments

 5 presented by the interested parties at a noticed hearing held on August 31, 2021 at 2:00 p.m., and for

 6 the reasons stated in the Court’s tentative ruling and on the record, and for good cause appearing,

 7            IT IS HEREBY ORDERED that:
 8            1.      The Motion is GRANTED;
 9            2.      The Court’s rulings on oppositions and evidentiary objections are as set forth on the
10                    record, including without limitations its rulings denying the objections of A. Stuart
11                    Rubin, Elliot Lander, Force Rubin LLC, Force Rubin 2 LLC, and Coachella Resort,
12                    LLC with respect to the Agreement; and
13            3.      The Agreement (as defined in the Motion), by and between the Trustee, on behalf of
14                    the estate, and U.S. Real Estate Credit Holdings III-A, LP (“Lender”) is APPROVED
15                    in its entirety, including with respect to its binding nature on any successor trustee,
16                    subject to the following provisos and modifications:
17                    a. This Court’s approval of the Agreement does not, in and of itself, adjudicate any
18                       lien priority disputes as between Lender and other claimants asserting liens
19                       against the Property (as defined in the Motion);
20                    b. Should the Property be sold for cash, the proceeds of such sale shall be held in
21                       trust, by the Trustee or a successor trustee, in a sufficient amount solely to cover
22                       any disputed mechanics’ or materialmens’ liens, with the remaining cash proceeds
23                       to be paid to Lender up to the value of its allowed secured claim, which has been
24                       fully allowed as set forth in the Agreement; and
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 1                    c. Should the Property be acquired by Lender pursuant to a credit bid, liens asserted
 2                       against the Property shall remain on the Property until they are adjudicated as
 3                       junior in priority to Lender’s lien or otherwise valued at $0 or disallowed.
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24     Date: September 13, 2021

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